                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       v.                                      )       No. 3:12-00219 (3)
                                               )       Judge Sharp
TIMOTHY MAURICE CAREY                          )

                                              ORDER

       After being indicted for conspiring to possess with the intent to distribute five or more

kilograms of cocaine, Defendant Timothy Carey filed a “Motion to Divest Motor Vehicle From

Forfieture [sic] Count and Request for Remission of Property.” (Docket No. 61). By way of that

Motion, Defendant asks “the Court to divest certain motor vehicle from the Forfeiture Count in the

. . . Indictment, and to return the same to the rightful owners.” (Id. at 1). Defendant identifies the

vehicles as “a 1999 Harley Davidson Electra Glide Motor Cycle belonging to Dukes Automotive

Services”; “a 1996 Ford Econoline Van belonging to Theodore Howard Cunningham”; “a 2002

Chevrolet Avalanche belonging to Juanita Bell”; “a 2006 Dodge Charger SXT belonging to Tim

Carey”; and “a 2003 Nissan Murano belonging to Yakendra Barr.” (Id.).

       As the Government points out in its response, however, the forfeiture allegation specifically

identifies the property to be forfeited to be “$90,000 in United States currency” and/or “a money

judgment in an amount to be determined representing the amount of gross drug proceeds obtained

as a result of such offense.” (Docket No. 32 at 2). None of the listed vehicles are identified in the

forfeiture count.

       Arguably, the forfeiture count could be read to include more than cash or a money judgment

because it requests that Defendant forfeit “any property constituting or derived from, any proceeds


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[Defendants] obtained, directly or indirectly” as the result of the conspiracy. (Id.). Even if so read,

however, the vehicles that Defendant seeks to exclude from forfeiture are the subject of

administrative forfeiture proceedings, and “[a] motion under 18 U.S.C. § 983(e) is ‘the exclusive

remedy for seeking to set aside a declaration of forfeiture under a civil forfeiture statute[.]’” In re

$20,000 in U.S. Currency, 523 F. App’x 322, 323 (6th Cir. 2013) (citation omitted). Moreover, a

party contesting forfeiture “‘must         have statutory standing through compliance with [the

Supplemental Rules for . . . Asset Forfeiture Actions], as well as the Article III standing,’” with the

latter requiring “‘a colorable ownership, possessory or security interest in at least a portion of the

. . . property.’” United States v. $677,660.00 in U.S. Currency, 513 F. App’x 531, 532 (6th Cir.

2013) (quoting United States v. $515,060.42 in U.S. Currency, 152 F.3d 491, 497 (6th Cir.1998)).

        Defendant’s Motion does not suggest that he has any ownership interests in the vehicles,

except with respect to the Dodge Charger. But even as to that vehicle, Defendant’s remedy is a

challenge in the administrative forfeiture proceedings, not by way of a Rule 41(g) motion1 in this

Court. See United States v. King, 442 F. App’x 212, 213 (6th Cir. 2012); Mesa Valderrama v. United

States, 417 F.3d 1189, 1196 (5th Cir. 2005).

        Accordingly, Defendant’s Motion to Divest (Docket No. 61) is hereby DENIED.



                                                          ____________________________________
                                                          KEVIN H. SHARP
                                                          UNITED STATES DISTRICT JUDGE




        1
           Rule 41(b) of the Federal Rules of Criminal Procedure allows the filing of a motion for return of
property that is unlawfully seized. “Rule 41, however, cannot be used to recover property that has been
forfeited to the government in a civil forfeiture proceeding.” United States v. Garza, 486 F. App’x 782, 784
(11th Cir. 2012).

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